Case 2:04-cr-20416-SH|\/| Document 11 Filed 05/11/05 Page 1 of 2 Page|D 13

!~-'H-§;»D siler
UNITED STATES DISTRICT COURT
WESTERN DISTRICT oF TENNESSEE 355 51;,.); y ; g psi 2. ,-7
Western Division ' `]

 

\. `Ff"[©t.l€=
\ 7 !. C';“.
\ ' i:,-m.l=>'rl.is

-vs~ Case No. 2:04cr20416-001Ma

   

UNITED STATES OF AMERICA

DERICO BOBBIT

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel Accordingly,
the Court makes the following appointment pursuant to the Crirninal Justice Act (l 8 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
- The Federal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT

‘ All purposes including trial and appeal

DONE and ORDERED in 167 North Main, Memphis, this qui day of May, 2005.

/"""_°

. H‘
S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attomey

United States Marshal

Pretrial Services Office

Assistant Federai Public Defender
Intake

DERICO BOBB]T

f
Thls document entered on the docket sheet In compliance
with ama 55 and/or 320)) snch on ’ 'U

 

Notice of Distribution

This notice confirms a copy of the document docketed as number ll in
case 2:04-CR-20416 Was distributed by faX, mail, or direct printing on
May ll, 2005 to the parties listed.

 

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Pamela B. Hamrin

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

